                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                                       No. 3:06-CR-74-BR

UNITED STATES OF AMERICA,                              )
                                                       )
               v.                                      )               ORDER
                                                       )
                                                       )
RICKY EDWARD GRAVES                                    )
SAMUEL THOMAS CURRIN                                   )




       This matter is before the court on several unopposed motions of defendants Graves and

Currin. On 21 August 2006, Currin filed a motion to unseal the affidavit supporting a search warrant

obtained from the Eastern District of North Carolina and executed at Currin’s law firm in Raleigh,

No. 5:05-M-1284 (EDNC). This court does not have jurisdiction to rule on this motion, see In the

Matter of the Application and Affidavit for a Search Warrant, 923 F.2d 324, 328 (4th Cir. 1991)

(federal district court in which an affidavit supporting a search warrant was filed, not state court

where the defendant was to be tried, has jurisdiction to rule on a motion to unseal that affidavit), and

it is DENIED WITHOUT PREJUDICE to Currin refiling it in the Eastern District.

       Currin and Graves both filed motions for leave to file additional pretrial motions; Graves also

requests the right to join in any motion filed by a co-defendant. These motions are also DENIED

WITHOUT PREJUDICE. If the government provides additional discovery to defendants which, in

these defendants’ opinions, forms the basis for additional pretrial motions, these defendants may

seek leave to file specific motions. However, the court cautions counsel that any such motion must

be filed promptly after receipt of discovery. If Graves desires to join in a co-defendant’s pretrial




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motion, he must file notice of his intent to join in such a motion within 5 days of the date of any

order allowing the filing of such motion.

       This 19 September 2006.




                                             __________________________________
                                                   W. Earl Britt
                                                   Senior U.S. District Judge




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